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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                SOUTHERN DIVISION
                                   AT PIKEVILLE

CIVIL ACTION NO. 19-102-DLB

PETER L. LABRECHE                                                             PLAINTIFF


v.                                         JUDGMENT


ANDREW SAUL, Commissioner
of the Social Security Administration                                       DEFENDANT

                         * *   * *   * *   * *    * *   * *   * *     * *

       Consistent with the Memorandum Opinion and Order entered today, and pursuant

to Rule 58 of the Federal Rules of Civil Procedure, IT IS ORDERED AND ADJUDGED

as follows:

       (1)    The administrative decision is AFFIRMED and judgment is entered in favor

of Defendant Commissioner;

       (2)    Plaintiff Peter Labreche’s Complaint (Doc. # 1) against Defendant

Commissioner is DISMISSED WITH PREJUDICE; and

       (3)    This action is DISMISSED and STRICKEN from the Court’s active docket.

       This is a final and appealable order and no just cause for delay exists.

       This 9th day of November, 2020.




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